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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                             (Northern Division)

MAYOR AND CITY COUNCIL                )
OF BALTIMORE CITY, A                  )
MUNICIPAL CORPORATION, et             )
al.,                                  ) CIVIL ACTION FILE NO.
                                      ) 1:16-cv-03486-ELH
       Plaintiffs / Counterclaim      )
       Defendants,                    )
                                      )
v.                                    )
                                      )
BROOKE ALLEN, et al.,                 ) JURY TRIAL DEMANDED
                                      )
       Defendants / Counterclaim      )
       Plaintiffs.                    )

                  ANSWER, DEFENSES, AND COUNTERCLAIM

       Defendants Brooke Allen (“Ms. Allen”), Justin Allen (“Mr. Allen”), What

Works Studio, LLC (“WWS”), and Light City, LLC (collectively the

“Defendants”) file and serve this their Answer and Defenses as follows:

                                    ANSWER

       Defendants deny the allegations set forth in the unnumbered preamble or

introduction contained on page numbers 2 and 3 of the Plaintiffs’ Complaint




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                              Responding to “Parties”

                                           1.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 1 of the Complaint and therefore deny the

same.

                                           2.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 2 of the Complaint and therefore deny the

same.

                                           3.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 3 of the Complaint and therefore deny the

same.

                                           4.

        Admitted.

                                           5.

        Admitted.

                                           6.

        Admitted.



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                                         7.

       Defendants admit only that Ms. Allen is an owner of WWS. Defendants

deny the remaining allegations contained in paragraph no. 7 of the Complaint.

                                         8.

       Admitted.

                                         9.

       Defendants admit only that Ms. Allen and Mr. Allen are owners of Light

City, LLC. Defendants deny the remaining allegations contained in paragraph no.

9 of the Complaint.

                      Responding to “Jurisdiction and Venue”

                                         10.

       Defendants admit that Ms. Allen and Mr. Allen reside in Maryland. The

remaining allegations contained in paragraph no. 10 of the Complaint are a

statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

                                         11.

       Defendants admit that WWS and Light City, LLC are organized under

Maryland law and maintain their principal place of business in Maryland. The

remaining allegations contained in paragraph no. 11 of the Complaint are a



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statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

                                           12.

        The allegations contained in paragraph no. 12 of the Complaint are a

statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

                                           13.

        The allegations contained in paragraph no. 13 of the Complaint are a

statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

           Responding to “Allegations of Fact Common to All Claims”

                                           14.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 14 of the Complaint and therefore deny the

same.

                                           15.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 15 of the Complaint and therefore deny the

same.



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                                           16.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 16 of the Complaint and therefore deny the

same.

                                           17.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 17 of the Complaint and therefore deny the

same.

                                           18.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 18 of the Complaint and therefore deny the

same.

                                           19.

        Defendants deny that Mr. Allen owns and operates WWS. Defendants admit

the remaining allegations contained in paragraph no. 19 of the Complaint.

                                           20.

        Defendants deny that Ms. Allen filed the Articles of Organization.

Defendants admit the remaining allegations contained in paragraph no. 20 of the

Complaint.



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                                       21.

       Denied.

                                       22.

       Denied.

                                       23.

       Denied.

                                       24.

       Denied.

                                       25.

       Denied.

                                       26.

       Denied.

                                       27.

       Denied.

                                       28.

       Denied.

                                       29.

       Denied.




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                                           30.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 30 of the Complaint and therefore deny the

same.

                                           31.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 31 of the Complaint and therefore deny the

same.

                                           32.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 32 of the Complaint and therefore deny the

same.

                                           33.

        Denied.

                                           34.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 34 of the Complaint and therefore deny the

same.




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                                           35.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 35 of the Complaint and therefore deny the

same.

                                           36.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 36 of the Complaint and therefore deny the

same.

                                           37.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 37 of the Complaint and therefore deny the

same.

                                           38.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 38 of the Complaint and therefore deny the

same.

                                           39.

        Paragraph no. 39 of the Complaint contains a typographical error such that it

is incomprehensible. As such, Defendants deny paragraph no. 39 of the

Complaint.

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                                          40.

       Defendants admit only that Exhibit 2 to the Complaint is an accurate copy of

the “Proposal for Light City Baltimore.” Defendants deny the remaining

allegations contained in paragraph no. 40 of the Complaint.

                                          41.

       Defendants state that the content of the “Proposal for Light City Baltimore”

speaks for itself. As such, Defendants deny the allegations contained in paragraph

no. 41 of the Complaint.

                                          42.

       Admitted.

                                          43.

       Denied.

                                          44.

       Defendants admit only that Exhibit 4 to the Complaint is an accurate copy of

the “LIGHTCITYU LETTER OF AGREEMENT.” Defendants deny the

remaining allegations contained in paragraph no. 44 of the Complaint.

                                          45.

       Defendants state that the content of the “LIGHTCITYU LETTER OF

AGREEMENT” speaks for itself. As such, Defendants deny the allegations

contained in paragraph no. 45 of the Complaint.

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                                            46.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 46 of the Complaint and therefore deny the

same.

                                            47.

        Denied.

                                            48.

        Denied.

                                            49.

        Denied.

                                            50.

        Defendants admit only that on or about July 31, 2015 they submitted a

“LIGHT CITY WEBSITE PHASE II PROPOSAL” to Tracy Baskerville of BOPA.

Defendants deny the remaining allegations contained in paragraph no. 50 of the

Complaint.

                                            51.

        Defendants admit only that Exhibit 5 to the Complaint is an accurate copy of

the “LIGHT CITY WEBSITE PHASE II PROPOSAL.” Defendants deny the

remaining allegations contained in paragraph no. 51 of the Complaint.



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                                            52.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 52 of the Complaint and therefore deny the

same.

                                            53.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 53 of the Complaint and therefore deny the

same.

                                            54.

        Denied.

                                            55.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 55 of the Complaint and therefore deny the

same.

                                            56.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 56 of the Complaint and therefore deny the

same.

                                            57.

        Admitted.

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                                            58.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 58 of the Complaint and therefore deny the

same.

                                            59.

        Denied.

                                            60.

        Denied.

                                            61.

        Defendants admit that WWS was been paid approximately $170,000 for

work related to the LIGHT CITY Festival. Defendants deny the remaining

allegations contained in paragraph no. 61 of the Complaint.

                                            62.

        Denied.

                                            63.

        Denied.

                                            64.

        Denied.




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                                            65.

        Defendants admit that to the best of their knowledge that LIGHT CITY was

the first festival of its kind held in the United States. Defendants deny the

remaining allegations contained in paragraph no. 65 of the Complaint.

                                            66.

        Defendants admit only that LIGHT CITY 2016 was successful. Defendants

deny the remaining allegations contained in paragraph no. 66 of the Complaint.

                                            67.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 67 of the Complaint and therefore deny the

same.

                                            68.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 68 of the Complaint and therefore deny the

same.

                                            69.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 69 of the Complaint and therefore deny the

same.



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                                            70.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 70 of the Complaint and therefore deny the

same.

                                            71.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 71 of the Complaint and therefore deny the

same.

                                            72.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 72 of the Complaint and therefore deny the

same.

                                            73.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 73 of the Complaint and therefore deny the

same.

                                            74.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 74 of the Complaint and therefore deny the

same.

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                                            75.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 75 of the Complaint and therefore deny the

same.

                                            76.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 76 of the Complaint and therefore deny the

same.

                                            77.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 77 of the Complaint and therefore deny the

same.

                                            78.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 78 of the Complaint and therefore deny the

same.

                                            79.

        Defendants are without sufficient information to form a belief as to the

allegations contained in paragraph no. 79 of the Complaint and therefore deny the

same.

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                                          80.

       Defendants admit that they or some combination of them own the “LIGHT

CITY Marks” as that term is defined in the Complaint. Defendants deny that they

have repeatedly claimed that neither BFAI nor BOPA have any ownership interest

or right in the “LIGHT CITY Marks” but Defendants reserve the right to make

such a claim.

                                          81.

       Denied.

                                          82.

       Defendants admit only that Exhibit 11 to the Complaint is a true and

accurate copy of the “Articles of Organization” for Light City, LLC. Defendants

deny the remaining allegations contained in paragraph no. 82 of the Complaint.

                                          83.

       Denied.

                                          84.

       Admitted.

                                          85.

       Denied.




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                                           86.

       The allegations contained in paragraph no. 86 of the Complaint are a

statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

         Responding to “Count One, Lanham Act, 15 U.S.C. § 1125(a)”

                                           87.

       Defendants repeat and restate each of the foregoing paragraphs of their

Answer and Defenses.

                                           88.

       Denied.

                                           89.

       Denied.

                                           90.

       Denied.

                                           91.

       Denied.

                                           92.

       Denied.

                                           93.

       Denied.

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                                           94.

       Denied.

                                           95.

       Denied.

                                           96.

       Denied.

                                           97.

       The allegations contained in paragraph no. 97 of the Complaint are a

statement and conclusion of law requiring no response from the Defendants and

are therefore denied.

        Responding to “Count Two, Unfair Competition; Maryland law”

                                           98.

       Defendants repeat and restate each of the foregoing paragraphs of their

Answer and Defenses.

                                           99.

       Denied.

                                       100.

       Denied.

                                       101.

       Denied.

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                                         102.

       Denied.

                                         103.

       Denied.

                                         104.

       Denied.

                                         105.

       Denied.

              Responding to “Relief Requested Under Both Claims”

       Defendants deny that the Plaintiffs are entitled to any relief in this civil

action.

                                     DEFENSES

                                     First Defense

       Plaintiffs have failed to state a claim upon which relief can be granted.

                                   Second Defense

       Plaintiffs’ claims are barred by the doctrine of unclean hands.

                                    Third Defense

       Plaintiffs’ claims are barred by the doctrines of estoppel and laches.

                                   Fourth Defense

       Plaintiffs’ claims are barred by the doctrine of fair use.

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                                    Fifth Defense

       Plaintiffs’ claims are barred because there is no trademark infringement.

Defendants can not infringe their own trademarks.

                                    Sixth Defense

       Plaintiffs’ claims are barred due to their acts of fraud or fraudulent

inducement.

                                   Seventh Defense

       Plaintiffs’ claims are barred because certain terms of alleged contracts put at

issue in the Complaint are ambiguous and unenforceable.

                                   Eighth Defense

       Plaintiffs’ claims are barred because certain terms of alleged contracts at

issue in the Complaint are ambiguous and should be construed against the

Plaintiffs.

                                    Ninth Defense

       Plaintiffs’ claims are barred because they are in breach of the alleged

contracts at issue in the Complaint.

                                    Tenth Defense

       Defendants reserve the right to assert additional defenses that become

known to them during the pendency of this case.

       WHEREFORE the Defendants respectfully pray that this Court:

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       (a)     dismiss each of Plaintiffs’ claims with prejudice;

       (b)     enter final judgment in favor of Defendants and against Defendants;

       (c)     award the Defendants their fees and expenses incurred in defending

this action; and

       (d)     award the Defendants all other legal and equitable relief that is

appropriate.

DEFENDANTS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE




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                                COUNTERCLAIMS

       Counterclaim Plaintiffs Brooke Allen (“Ms. Allen”), Justin Allen (“Mr.

Allen”), and What Works Studio, LLC (“WWS”) (collectively the “Counterclaim

Plaintiffs”) and file and serve this their Counterclaims as follows:

                                     The Parties

                                            1.

       Ms. Allen is an individual citizen of the State of Maryland.

                                            2.

       Mr. Allen is an individual citizen of the State of Maryland.

                                            3.

       WWS is a limited liability company organized pursuant to the laws of the

State of Maryland. The sole member of WWS is Ms. Allen.

                                            4.

       Plaintiff Mayor and City Council of Baltimore City (“Mayor and City

Council”) alleges that it is a municipal corporation organized and operating under

the laws of the State of Maryland.

                                            5.

       Plaintiff Baltimore Festival of the Arts, Inc. (“BFAI”) alleges that it is a non-

stock, non-profit corporation organized and operating under the laws of the State of



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Maryland with its principal place of business at Ten East Baltimore Street, Tenth

Floor, Baltimore, Maryland 21202.

                                           6.

       Plaintiff Baltimore Office of Promotion & The Arts, Inc. (“BOPA”) alleges

that it is a non-stock, not-for-profit corporation organized and operating under the

laws of the State of Maryland with its principal place of business at Ten East

Baltimore Street, Tenth Floor, Baltimore, Maryland 21202.

                                           7.

       This Court has subject matter jurisdiction over these Counterclaims.

                                           8.

       This Court is an appropriate venue for these Counterclaims.

                                           9.

       Mayor and City Council, BFAI, and BOPA (collectively the “Counterclaim

Defendants”) are subject to the personal jurisdiction of this Court.

                                Factual Allegations

                                           10.

       Beginning in March 2010, Ms. Allen and Mr. Allen (collectively the

“Allens”) conceptualized a festival to take place in the City of Baltimore that

would bring together public art light installations, innovation conferences, and live

music.

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                                            11.

       The Allens’ concept for the public art light installation component of the

festival was to bring to Baltimore displays similar to those used in light festivals

held in Sydney, Australia, Berlin, Germany, and Kobe, Japan.

                                            12.

       The Allens’ concept for the innovation conference component of the festival

was to bring progressive thought leaders to Baltimore to lead presentations and

participate in panels similar to those held at events like South by Southwest

(SXSW) in Austin, Texas and PopTech in Camden, Maine.

                                            13.

       The Allens further conceptualized that live music would be presented

throughout the festival.

                                            14.

       On August 2, 2013, the Allens came up with the name, LIGHT CITY, for a

new festival in Baltimore.

                                            15.

       The Allens believed that the LIGHT CITY brand could also be used for

similar festivals that they would organize in other cities.




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                                           16.

       On August 14, 2013, the Allens purchased the domain name “lightcity.us.”

                                           17.

       On August 19, 2013, the Allens had their first telephone call with John

Cammack who was a potential investor or sponsor of the LIGHT CITY festival

and followed that telephone call up with an in-person meeting at the Stone Mill

Bakery on September 3, 2013.

                                           18.

       Over the ensuing months, the Allens had numerous meetings with various

prominent investors or sponsors for LIGHT CITY, including many prominent

Baltimore citizens, businesses, and foundations, including, without limitation

Baltimore Gas & Electric Company, the CEO of LifeBridge Health, the Warnock

Foundation, and the Abell Foundation.

                                           19.

       On September 5, 2013, the Allens published a brochure describing the plans

for the LIGHT CITY festival. Between September 2013 and July 2014 the Allens

presented the brochure and their plans for the LIGHT CITY festival in

approximately sixty-five (65) different meetings with groups such as potential

sponsors, investors, and partners and media members.



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                                           20.

       A true and correct copy of the brochure described in the preceding paragraph

is attached hereto as Exhibit “A.”

                                           21.

       On October 28, 2013, the Allens participated in a Skype call with Ignatius

Jones, an internationally known light festival director from Sydney, Australia, to

discuss the LIGHT CITY festival.

                                           22.

       On November 7, 2013, the Allens met with Carolyn Blakeney, the Chief of

Staff at the Baltimore City Council’s President’s Office, to present their plans for

the LIGHT CITY festival.

                                           23.

       On December 19, 2013, Mr. Allen formed Light City, LLC in the State of

Maryland (“Light City, LLC I”). The Allens were owners of Light City, LLC I.

Light City, LLC I has since been dissolved.

                                           24.

       Light City, LLC I is not the Defendant identified in Plaintiffs’ Complaint.

The Defendant Light City, LLC was formed on July 21, 2016 (“Light City, LLC

II”). Light City, LLC II is currently an active business entity with the Maryland

Secretary of State. The members of Light City, LLC II are the Allens.

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                                            25.

       On December 23, 2013, the Allens received the first verbal sponsorship

commitment for the LIGHT CITY festival from LifeBridge Health which

ultimately turned into a $25,000 sponsorship.

                                            26.

       On December 28, 2013 at 10:38 AM EST, the Allens published a video

available at https://vimeo.com/82834095 titled “Say Hello to Light City” which

explained their plans for the LIGHT CITY festival.

                                            27.

       In December 2013, the Allens secured and launched: (i) the LIGHT CITY

Facebook page facebook.com/lightcitybaltimore; and (ii) the Twitter profile which

is now called twitter.com/lightcitybmore but was originally called

twitter.com/lightcityus.

                                            28.

       On January 13, 2014, the Allens launched the lightcity.us website. The

initial lightcity.us website can be viewed at:

https://web.archive.org/web/20140113015444/http://lightcity.us/

                                            29.

       The screenshot of the original lightcity.us website is attached hereto as

Exhibit “B.”

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                                           30.

       On January 22, 2014, the Allens met with the Executive Director of the

Waterfront Partnership of Baltimore (“Waterfront”), Laurie Schwartz, to discuss

the plans for the Light City festival. At the meeting, Waterfront offered to be the

non-profit fiscal sponsor of the LIGHT CITY festival.

                                           31.

       On January 24, 2014, the Allens presented the plans for the LIGHT CITY

festival to the Abell Foundation.

                                           32.

       On January 30, 2014, the Allens presented the plans for the LIGHT CITY

festival at the Baltimore Social Innovation Journal pitch presentation organized by

the Warnock Foundation. Light City, LLC I was awarded two separate

unrestricted grants by the Warnock Foundation in the amounts of $1,000 and

$5,000, respectively.

                                           33.

       On February 3, 2014, the Allens presented the plans for the LIGHT CITY

festival to then-Baltimore City Councilman William Cole.




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                                            34.

       On February 5, 2014, Waterfront submitted a $250,000 grant proposal to the

Abell Foundation in its capacity as the initial non-profit fiscal sponsor for the Light

CITY festival.

                                            35.

       A true and correct copy of Waterfront’s submission letter is attached hereto

as Exhibit “C.”

                                            36.

       On February 21, 2014, the Abell Foundation began providing $20,000 in

funding to Light City, LLC I to organize the Light City festival, specifically to hire

Ignatius Jones as a consultant.

                                            37.

       A true and correct copy of the letter from the Abell Foundation dated

February 21, 2014 to Ms. Allen related to the $20,000 in funding is attached hereto

as Exhibit “D.”

                                            38.

       On March 7, 2014, Light City, LLC I signed a contract with Warehouse Pty

Ltd an Australian management agency, to engage Ignatius Jones as a consultant.




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                                           39.

       A true and correct copy of the contract for Mr. Jones’ services is attached

hereto as Exhibit “E.”

                                           40.

       On March 24, 2014, Mr. Jones travelled to Baltimore to provide consulting

services for the LIGHT CITY festival.

                                           41.

       On March 25, 2014, the Allens and Mr. Jones presented the plans for the

LIGHT CITY festival to Baltimore Gas & Electric Company.

                                           42.

       On March 26, 2014, the Allens and Mr. Jones presented the plans for the

LIGHT CITY festival to the Abell Foundation, Waterfront’s Executive Committee

and Visit Baltimore.

                                           43.

       On March 28, 2014, the Allens organized and hosted a LIGHT CITY

festival reception for Mr. Jones and sponsors and potential sponsors at the Wit and

Wisdom restaurant located at the Four Seasons Hotel Baltimore. Attendees at this

reception included representatives of many prominent companies, non-profits and

foundations, and the Baltimore government, including without limitation the Abell

Foundation, the Warnock Foundation, the Barnycz Group, the Mayor’s Office of

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Economic Development, Ayers Saint Gross, Brown Craig Turner, Cordish

Companies, Greater Baltimore Cultural Alliance, Baltimore Museum of Art,

Charles Street Development Corporation, Choose Maryland, Camden Partners,

Living Classrooms, Waterfront, Feats, Inc., EventEQ, Baltimore Angels, Baltimore

Emergency Management, GiveCorps, Regional Manufacturing Institute, ABS

Capital, and 3D Maryland.

                                          44.

       On March 30, 2014, the Allens and Mr. Jones discussed LIGHT CITY for

the first time with Bill Gilmore, the executive director of BOPA.

                                          45.

       On April 1, 2014, the Allens emailed a sponsorship proposal to Baltimore

Gas & Electric Company to be a lead sponsor of the LIGHT CITY festival.

Ultimately, Baltimore Gas & Electric Company sponsored the Light City festival

in the amount of $1,250,000.00 over two (2) years.

                                          46.

       Without the involvement of the Counterclaim Defendants, the Allens

secured leads that turned in to over $3,000,000.00 in sponsorship for the LIGHT

CITY festival over multiple years, including, without limitation, from Baltimore

Gas & Electric Company, Visit Baltimore, the Abell Foundation, and LifeBridge

Health.

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                                          47.

       Waterfront arranged a meeting between the Allens and BOPA on July 14,

2014. Attending this meeting from BOPA were Bill Gilmore, Kathy Hornig,

Rosalind Healy, Randy Vega, and Ryan Patterson.

                                          48.

       At the July 14, 2014 meeting with BOPA, the Allens made the same

presentation related to the plans for the LIGHT CITY festival that they had given

to other organizations.

                                          49.

       The BOPA representatives present at the July 14, 2014 meeting with the

Allens expressed interest in the LIGHT CITY festival and suggested that

discussions about the LIGHT CITY festival between the parties continue.

                                          50.

       The Allens met with BOPA again on August 7, 2014 at BOPA’s office.

Additional meetings between the Allens and BOPA took place in September and

October 2014. Beginning in November 2014, the Allens and BOPA began a

weekly recurring meeting to discuss the LIGHT CITY festival.

                                          51.

       Although BOPA had not become formally involved with the LIGHT CITY

festival, on November 6, 2014, the Allens met Bill Gilmore at his home before the

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Allens, Bill Gilmore, and Laurie Schwartz were scheduled to meet with Michael

Crier, a board member of Baltimore Gas & Electric Company, to discuss

fundraising for the LIGHT CITY festival.

                                             52.

       During their continuing meetings prior to December 14, 2014, Bill Gilmore

proposed that BFAI could take on the role of the fiduciary agent or sponsor for the

LIGHT CITY festival and that BOPA could be a production “partner” for the

public art portion of the festival.

                                             53.

       During the continuing meetings, Bill Gilmore repeatedly represented to the

Allens that they would produce and continue to own the innovation conferences if

the Counterclaim Defendants became involved with producing certain aspects of

the LIGHT CITY festival.

                                             54.

       During the continuing meetings, Bill Gilmore represented that BOPA did not

have interest in the innovation conferences associated with the LIGHT CITY

festival. Bill Gilmore represented explicitly that all of BOPA’s events are free and

open to the public and that BOPA had no interest in being involved with ticketed

events like the innovation conferences.



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                                           55.

       During the continuing meetings, Bill Gilmore also repeatedly referred to the

relationship of the Allens and BOPA as a “marriage” and also represented that

BOPA and the Allens would enter into a “partnership” related to the LIGHT CITY

festival in which partnership the Allens would have complete control over the

innovation conferences while BOPA would concentrate its efforts on producing the

public art installations and the music component of the LIGHT CITY festival.

                                           56.

       On December 14, 2014, Ms. Allen presented the plans for the Light City

festival to the combined boards of BOPA and BFAI. Bill Gilmore also made a

presentation to the combined boards recommending that BFAI become the fiscal

agent for the LIGHT CITY festival.

                                           57.

       The minutes of the December 14, 2014 board meeting reflect that the Allens

are the “visionary founders” of the LIGHT CITY festival, that BFAI would be the

“fiduciary” or fiduciary agent for the festival, and that WWS would own the LCB

[LIGHT CITY BALTIMORE] URL’s (or domain names).




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                                           58.

       The board minutes are consistent with the understanding of everyone

involved that the intellectual property related to the LIGHT CITY festival was the

property of the Allens.

                                           59.

       The minutes of the December 14, 2014 board meeting also memorialize that

Bill Gilmore stated “[t]he division of duties will help [the Allens] business through

the innovation component” which is consistent with the understanding of everyone

involved that the Allens would produce the innovation conferences.

                                           60.

       In a February 2, 2016 Baltimore Business Journal article Bill Gilmore is

quoted as acknowledging that BOPA generally creates events in-house, but that

LIGHT CITY is unique because it is a “project developed by private citizens”

which is a statement consistent with the understanding of everyone involved that

the Allens owned the intellectual property related to the LIGHT CITY festival.

                                           61.

       The Allens would have never permitted the Counterclaim Defendants to be

involved in the LIGHT CITY festival in any way, and certainly not as a fiduciary

agent and responsible for producing any portion of the Light City festival, if they

would not have continued ownership over the innovation conferences.

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                                           62.

       The Allens intend that the innovation conferences are a for profit enterprise

that will permit them to earn income related to the LIGHT CITY festival in

Baltimore as well as similar LIGHT CITY festivals that may be held in other cities.

                                           63.

       On April 24, 2015, the Allens created the name LIGHTCITYU for the

innovation conferences without the involvement of the Counterclaim Defendants.

That same day, Ms. Allen purchased the lightcityu.com and lightcityu.org domain

names.

                                           64.

       On April 27, 2015, Ms. Allen designed the logo for LIGHTCITYU.

                                           65.

       On September 11, 2015, Ms. Allen released the logo to the public for the

LIGHTCITYU innovation conferences for the first time on the LIGHTCITYU

Facebook page which the Allens started.

                                           66.

       Toward the end of 2015, the relationship between the Allens and the

Counterclaim Defendants began to sour. For example, the Counterclaim

Defendants barred the Allens from speaking at the first press conference for the



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LIGHT CITY festival, did not include them in fundraising meetings, and otherwise

began to take steps to diminish their role without speaking to the Allens.

                                           67.

       The actions of the Counterclaim Defendants in excluding the Allens from

events are consistent with their plan to wrest control of the LIGHT CITY festival

from the Allens and expropriate the intellectual property related to the LIGHT

CITY festival for their own use.

                                           68.

       On January 20, 2016, the Allens met with various representatives of the

Counterclaim Defendants at BOPA’s office. At this meeting, Bill Gilmore, Kathy

Hornig, and Chuck Adkins of BOPA informed the Allens that the Counterclaim

Defendants would not “permit” the Allens to produce or have an ownership stake

in the LIGHTCITYU innovation conferences because they had been informed by

the “City” that the Counterclaim Defendants would need to take control and own

all aspects of the LIGHT CITY festival. During this meeting Bill Gilmore referred

to a signed proposal executed by BFAI on July 22, 2015 entitled “LIGHTCITYU

LETTER OF AGREEMENT” and stated repeatedly that the document “means

nothing.”




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                                          69.

       The position taken by the representatives of the Counterclaim Defendants at

the January 20, 2016 meeting is inconsistent with the many representations

described herein made by the Counterclaim Defendants and their representatives

related to the relationship of the Counterclaim Plaintiffs and Counterclaim

Defendants.

                                          70.

       The inaugural LIGHT CITY festival and LIGHTCITYU innovation

conference took place between March 28 and April 3, 2016 in Baltimore.

                                          71.

       On May 11, 2016, the Allens received an email from Bill Gilmore in which

he informed them that BOPA intended “to bring the conference booking in house

using BOPA staff for 2017.” In other words, Bill Gilmore informed the Allens that

they would have no more involvement with producing the innovation conferences

for the LIGHT CITY festival going forward. In addition, without informing the

Allens, they were removed from the LIGHT CITY steering committee, the LIGHT

CITY chairman’s council, the LIGHT CITY innovation subcommittee, and the

LIGHT CITY marketing and communications subcommittee. Additionally, WWS

was removed as a BFAI board member.



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                                             72.

       The Counterclaim Defendants had no right to inform the Allens that they

would be barred from being involved in a festival that they organized and of which

they owned the intellectual property rights.

                                             73.

       The Counterclaim Defendants have willfully and improperly asserted control

over the LIGHT CITY trademark owned by the Allens and all derivations thereof

such as LIGHT CITY BALTIMORE, LIGHTCITYU, and LABS@LIGHT CITY

(collectively the “LIGHT CITY Marks”) and are infringing upon the Allens’

LIGHT CITY Marks by organizing and promoting the 2017 LIGHT CITY festival

in Baltimore without permission or license to use the LIGHT CITY Marks.

                                             74.

       Further, the Counterclaim Defendants have violated the Allens’ rights by

commandeering the LIGHT CITY festival social media accounts created, nurtured,

and grown by the Allens. With regard to the LightCityU Facebook, Instagram, and

Twitter accounts, the Counterclaim Defendants even gained control over the

accounts changed the name of the accounts to “labslightcity,” “labsatlightcity,” and

“@lightcitylabs,” respectively, without the authorization of the Allens which is a

source of serious confusion to the public.



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                                           75.

       The Counterclaim Defendants have stopped referring to the innovation

conferences as LIGHTCITYU and are now referring to the innovation conferences

as “Labs@LightCity” and intend to begin selling tickets on November 11, 2016 to

the rebranded “Labs@LightCity” without the consent of the Allens.

                                           76.

       The Allens have received substantial press coverage related to their roles

with the LIGHT CITY festival including in multiple articles in the Baltimore Sun,

Baltimore Magazine, and the Baltimore Business Journal, as well as in television

media, and various internet publications. Further, the Allens have won awards for

the LIGHT CITY festival including the Baltimore Innovation Awards

“Artist/Creative Group of the Year” for 2015. The media coverage and awards

received by the Allens have the effect of associating them with the LIGHT CITY

festival as the founders or owners.

                                           77.

       BFAI has failed and refused to pay WWS for work that it requested that

WWS perform in BFAI’s capacity as the fiduciary agent for the 2016 LIGHT

CITY festival.




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                                    COUNT I
                         Lanham Act, 15 U.S.C. § 1125(a)
                       (Allens v. Counterclaim Defendants)

                                            78.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                            79.

       The Allens own common law trademark rights in the LIGHT CITY Marks

throughout the United States and the State of Maryland.

                                            80.

       The Allens have a real and substantial interest in having this Court

determine that they own the LIGHT CITY Marks so as to protect the ability of the

Allens to make use of the LIGHT CITY Marks in connection with Light City

festivals held in Baltimore and that may be held in other cities in the future.

                                            81.

       The LIGHT CITY Marks that the Allens own are distinctive when used in

connection with light festivals and related innovation conference events by virtue

of the exclusive and extensive use of the LIGHT CITY Marks in commerce by the

Allens and the association of the public of the Allens with the LIGHT CITY

festival due to the substantial media coverage and awards that the Allens have

received related to the LIGHT CITY festival.

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                                            82.

       The expropriation, copying, imitation, and use of the LIGHT CITY Marks

owned by the Allens by the Counterclaim Defendants to promote a Light City

festival in Baltimore is without the permission, license, or authority of the Allens.

                                            83.

       The activities of the Counterclaim Defendants in using, imitating, and

copying the LIGHT CITY Marks owned by the Allens is likely to and has already

lead to and resulted in consumer confusion, mistake, and deception, and is likely to

cause and is already causing consumers to believe that the Counterclaim

Defendants own the LIGHT CITY Marks, while simultaneously causing

consumers to believe that the Allens have authorized, licensed, or are otherwise

connected or affiliated with Counterclaim Defendants’ business activities all to the

detriment of the Allens.

                                            84.

       The acts of the Counterclaim Defendants violate § 43(a) of the Lanham Act,

15 U.S.C. § 1125(a).

                                            85.

       The acts of the Counterclaim Defendants in using, imitating, and copying the

LIGHT CITY Marks owned by the Allens as alleged herein are and continue to be

willful.

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                                           86.

       As a direct and proximate result of the conduct of the Counterclaim

Defendants the Allens have sustained and will continue to sustain substantial

damages.

                                           87.

       As a direct and proximate result of the conduct of the Counterclaim

Defendants the Allens will continue to sustain irreparable injury for which no

adequate remedy at law exists.

                                           88.

       An actual controversy with regard to the ownership of the LIGHT CITY

Marks exists within the meaning of 28 U.S.C. § 2201.

                                  COUNT II
                   Unfair Competition Under Maryland Law
                     (Allens v. Counterclaim Defendants)

                                           89.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                           90.

       The Allens own common law trademark rights in the LIGHT CITY Marks

throughout the United States and the State of Maryland.



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                                           91.

       The Allens have a real and substantial interest in preventing unfair

competition that causes confusion among the public with regard to the LIGHT

CITY Marks.

                                           92.

       The conduct of the Counterclaim Defendants of expropriating the LIGHT

CITY Marks as their own and claiming exclusive ownership of the LIGHT CITY

Marks for the purpose of trading off the reputation and goodwill of the Allens is

likely to cause confusion among the public and damage to the reputation of the

Allens, and is likely to damage the good will that the Allens have developed in the

LIGHT CITY Marks.

                                           93.

       The acts of the Counterclaim Defendants as alleged herein constitute unfair

competition under Maryland law.

                                           94.

       The acts of the Counterclaim Defendants in using, imitating, and copying the

LIGHT CITY Marks as alleged herein are and continue to be willful.




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                                            95.

       As a direct and proximate result of the conduct of the Counterclaim

Defendants, the Allens have sustained and will continue to sustain substantial

damages.

                                            96.

       As a direct and proximate result of the conduct of the Counterclaim

Defendants, the Allens have sustained and will continue to sustain irreparable

injury for which no adequate remedy at law exists.

                                    COUNT III
                  Trademark Infringement Under Maryland Law
                       (Allens v. Counterclaim Defendants)

                                            97.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                            98.

       As described above, the Allens own all rights, title, and interest in and to the

LIGHT CITY Marks.

                                            99.

       As described above, the LIGHT CITY Marks are distinctive and the Allens

have built up valuable goodwill in the LIGHT CITY Marks.



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                                       100.

       The Counterclaim Defendants’ use of the LIGHT CITY Marks infringes the

Allens’ rights therein and has will continue to cause confusion, mistake, or

deception among consumers as to the source, sponsorship, and origin of the

LIGHT CITY festival that the Counterclaim Defendants intend to hold in 2017 and

are actively promoting.

                                       101.

       The Counterclaim Defendants’ conduct deceives or is likely to deceive, and

has caused and is likely to continue to cause, confusion or mistake among actual

and prospective customers of the LIGHT CITY festival by passing off the

Counterclaim Defendants’ event as having been sponsored or otherwise approved

or connected with the Allens.

                                       102.

       As a direct and proximate result of the Counterclaim Defendants’

infringement of the Allens’ common law trademark rights under the State of

Maryland and other common law, the Allens have sustained and are likely to

continue to sustain monetary damages and irreparable injury to their business,

reputation, and goodwill.

                                       103.

       The Allens have no adequate remedy at law.

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                                       104.

       By reason of the foregoing acts, the Counterclaim Defendants are liable to

the Allens for trademark infringement and the Allens are therefore entitled to

permanent injunctive relief and monetary damages, including punitive damages by

reason of the Counterclaim Defendants’ willful, reckless, deliberate, and

intentional conduct.

                                 COUNT IV
      Unfair Trade Practices Under Md. Code Com. Law § 13-301, et seq.
                    (Allens v. Counterclaim Defendants)

                                       105.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                       106.

       As described above, Counterclaim Defendants have engaged in unfair or

deceptive trade practices by making, in the course of selling and offering to sell

Counterclaim Defendant’s products, false, falsely disparaging, and misleading

statements, visual descriptions, and other representations which have the capacity,

tendency, or effect of deceiving or misleading consumers.

                                       107.

       As described above, Counterclaim Defendants have engaged in unfair or

deceptive trade practices by representing to consumers, in the course of selling and

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offering to sell Counterclaim Defendants’ products, that Counterclaim Defendants’

products have a source, sponsorship, and characteristic that they do not have and

that Counterclaim Defendants’ products are of a standard, quality, grade, style, and

model which they are not.

                                         108.

       Counterclaim Defendants’ false and misleading representations and

deceptive conduct are material in that the same have caused and are likely to cause

prospective consumers of the Allens’ and Counterclaim Defendants’ products to be

deceived as to the source, sponsorship, characteristics, status, affiliation,

connection, standard, quality, grade, style, and model of the Allens’ products and

Counterclaim Defendants’ products, or as to the identity of the person to whom

rights belong.

                                         109.

       By reason of Counterclaim Defendants’ unfair and deceptive trade practices

as defined by Section 13-301 of Maryland’s Consumer Protection Act,

Counterclaim Defendants have violated Section 13-303 of Maryland’s Consumer

Protection Act.




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                                        110.

        As a direct and proximate result of said unfair and deceptive trade practices,

the Allens, as well as consumers, have sustained and are likely to continue to

sustain damages.

                                        111.

        The Allens have no adequate remedy at law.

                                        112.

        Pursuant to Sections 13-406 and 13-408 of Maryland’s Consumer Protection

Act, the Allens are entitled to enjoin the Counterclaim Defendants’ unlawful

conduct as well as obtain compensatory damages, punitive damages, and attorney’s

fees.

                                     COUNT V
                                 Unjust Enrichment
                        (Allens v. Counterclaim Defendants)

                                        113.

        Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                        114.

        The Allens have been denied financial compensation in connection with

Counterclaim Defendants’ use of the LIGHT CITY Marks.



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                                         115.

       The Counterclaim Defendants have been enriched and will continue to be

enriched by their use of the LIGHT CITY Marks in connection with the LIGHT

CITY festival in such a manner that the goodwill embodied by the Allens’ LIGHT

CITY Marks has inured to the benefit of the Counterclaim Defendants. The

circumstances are such that equity and good conscience require the Counterclaim

Defendants to make restitution to the Allens in an amount to be proven at trial.

                                      COUNT VI
                            Fraud / Fraudulent Inducement
                  (Counterclaim Plaintiffs v. Counterclaim Defendants)

                                         116.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                         117.

       The Allens created the name “Light City” for the Light City festival in

Baltimore and own common law trademark rights in the LIGHT CITY Marks and

all derivations thereof throughout the United States and the State of Maryland by

virtue of their first use of the LIGHT CITY Marks in commerce.

                                         118.

       In order to induce the Allens into allowing BFAI to serve as the fiduciary

agent for the LIGHT CITY festival, the Counterclaim Defendants acting through

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Bill Gilmore falsely represented that BOPA had no interest in taking ownership of

the innovation conferences at the LIGHT CITY festival, referred to the relationship

between the Counterclaim Defendants and the Allens as a “marriage”, and that the

parties would enter into a “partnership” related to the LIGHT CITY festival which

partnership would permit the Allens to have complete control over the innovation

conferences.

                                      119.

       The Counterclaim Defendants knew that the statements made by Bill

Gilmore acting on their behalf were false and that the Counterclaim Defendants

intended to expropriate the Allens’ LIGHT CITY festival and related intellectual

property including the LIGHT CITY Marks for their own use once they were able

to become involved in LIGHT CITY.

                                      120.

       The statements made by Bill Gilmore were made for the purpose of

defrauding the Allens and WWS, specifically to obtain access to and assert control

over the LIGHT CITY festival and LIGHT CITY Marks that the Counterclaim

Defendants did not own and to induce WWS into submitting various proposals to

BFAI for work related to the LIGHT CITY festival.




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                                        121.

       The Allens and WWS relied on Bill Gilmore’s false statements and had the

right to rely upon those statements in the full belief of their truth. The Allens never

would have permitted BFAI to become the fiduciary agent for the LIGHT CITY

festival or BOPA to become involved in the LIGHT CITY festival at all and WWS

would never have submitted proposals to work on the LIGHT CITY festival but for

these misrepresentations.

                                        122.

       Due to the Counterclaim Defendants’ acts of fraud, the Counterclaim

Plaintiffs have suffered damage directly resulting from the fraudulent

misrepresentations in an amount to be determined at the trial of this action. This

fraud also invalidates any proposals that WWS may have entered into with the

Counterclaim Defendants.

                                        123.

       Further, the Counterclaim Plaintiffs are entitled to recover punitive damages

form the Counterclaim Defendants due to their acts of fraud which were deliberate

and done with evil motive.




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                                     COUNT VII
                                   Quantum Meruit
                  (Counterclaim Plaintiffs v. Counterclaim Defendants)

                                         124.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                         125.

       The Counterclaim Plaintiffs conferred numerous benefits upon the

Counterclaim Defendants related to the 2016 LIGHT CITY festival.

                                         126.

       The Counterclaim Defendants appreciated and knew that the Counterclaim

Defendants were conferring benefits upon them related to the LIGHT CITY

festival.

                                         127.

       The Counterclaim Defendants accepted and retained the benefits conferred

upon them by the Counterclaim Plaintiffs such as to make it inequitable for the

Counterclaim Defendants to retain the benefits conferred upon them related to the

LIGHT CITY festival without the benefit of its value.

                                         128.

       The Counterclaim Plaintiffs are entitled to recover damages from the

Counterclaim Defendants to be determined by a jury at the trial of this action

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related to the improper retention of the benefits conferred upon them related to the

LIGHT CITY festival by the Counterclaim Defendants.

                                     COUNT VIII
                                   Civil Conspiracy
                  (Counterclaim Plaintiffs v. Counterclaim Defendants)

                                         129.

       Counterclaim Plaintiffs re-allege and incorporate by reference each of the

preceding paragraphs of their Counterclaims.

                                         130.

       The Counterclaim Defendants formed a confederation by agreement or

understanding to: (i) defraud and expropriate from the Allens the LIGHT CITY

Marks and assert control over the LIGHT CITY festival that the Allens had

conceptualized and organized by intentionally and willfully misrepresenting to the

Allens that the parties would engage in a “partnership” or “marriage” related to the

LIGHT CITY festival in which the Allens would retain full control over the

innovation conferences; and (ii) fraudulently induce WWS into submitting various

proposals to BFAI as the fiduciary sponsor for the LIGHT CITY festival despite

the fact that the Counterclaim Defendants had no intention of compensating WWS

in full for the work that it performed related to the LIGHT CITY festival.




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                                        131.

         The Counterclaim Plaintiffs have been actually damaged by the tortious acts

perpetrated by the Counterclaim Defendants in furtherance of their conspiracy to

expropriate the LIGHT CITY Marks, gain control of the LIGHT CITY festival,

and receive work requested from WWS without paying for it. The Counterclaim

Plaintiffs are entitled to recover theses damages and punitive damages in an

amount to be determined by a jury at the trial of this action.

         WHEREFORE the Counterclaim Plaintiffs respectfully request that this

Court:

         (a)   Enter judgment against the Counterclaim Defendants on each of the

claims set forth in these Counterclaims; and

         (b)   Permanently enjoin the Counterclaim Defendants and their respective

officers, directors, and agents from: (i) infringing or using the LIGHT CITY Marks

or any mark confusingly similar thereto in connection with the advertising,

promotion, offering for sale, or sale of any product or service; (ii) unfairly

competing with the Allens; and (iii) using or attempting to use any social media

accounts or websites, or interfering with the use of any social media accounts or

websites related to the LIGHT CITY festival; and




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       (c)    Order that the Counterclaim Defendants return control of all social

media accounts created by the Counterclaim Plaintiffs to the Counterclaim

Plaintiffs; and

       (d)    Award compensatory damages to the Counterclaim Plaintiffs in an

amount to be determined at trial; and

       (e)    Award punitive damages to the Counterclaim Plaintiffs in an amount

to be determined at trial; and

       (f)    Award costs and attorneys’ fees to the Counterclaim Plaintiffs; and

       (g)    Enter a judgment declaring that the Allens are the exclusive owners of

all rights in the LIGHT CITY Marks throughout the United States and that the

Counterclaim Defendants have no rights whatsoever in the LIGHT CITY Marks;

and

       (h)    Award the Counterclaim Plaintiffs all such other and further relief as

the Court deems just and proper.

                     COUNTERCLAIM PLAINTIFFS DEMAND
                  A TRIAL BY JURY ON ALL ISSUES SO TRIABLE

       Respectfully submitted this 11th day of November, 2016.




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                         CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system which will send notification of such

filing to the following CM/ECF participants:

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       This 11th day of November, 2016.


                                      WOMBLE CARLYLE SANDRIDGE &
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